                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                       )
                                               )
v.                                             )      NO. 3:10-00258
                                               )      JUDGE CAMPBELL
VICENTE ARELLANO-GARCIA                        )

                                        ORDER

      The sentencing hearing is CONTINUED until May 15, 2013, at 1:00 p. m.

      It is so ORDERED.

                                               ____________________________________
                                               TODD J. CAMPBELL
                                               UNITED STATES DISTRICT JUDGE




 Case 3:10-cr-00258    Document 465      Filed 12/12/12    Page 1 of 1 PageID #: 2457
